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UNITED S'I`A'I`ES DISTRICT COURT
EASTERN DISTRICT OF KEN'I`UCKY
LEXINGTON DIVISION
CIVIL AC'I`ION NO. 5:1'!-cv-406-DCR
F:'£ed Electroaica£ly

In re: 217 Old l'lopewell Road, Beattyville, Kentucky 41311

UNITED STATES OF AMERICA PLAINTIFF
VS.
TERRY MCINTOSH; ET AL DEFENDANTS

EN'I`RY ()F DEFAULT

9:****9:9:9:*

lt appearing that the Complaint herein was filed on Oetober IS, 2017, the Del`endant, Trina
Melntosh A!KXA Trina Lavelle Mclntosh, has been selyed by Summons; Defendant, Terry
Mclntosh_. has been served via appointment of Warning Order Attorney; Defendant, Unl<nown
Spouse of Terry Mclntosh, has been Served via appointment of Warning Order Attorney;
Defendant, Unknown Spouse of Trina MCIntoSh AIK)”A Trina Lavelle Mclntosb, has been Sel'ved
by Appointment of Waming Order Attomey, and that no answer or other pleading has been filed
by said Defendants as required by law:

NOW, Tl-lEREFOl§{E_1 upon request of Plaintiff, default is hereby entered against the
Defendants, Trina Mclntosh AFKIA Trina Lavelle Melntosh, 'l`erry Mclntosh, Unknown Spouse
of Trina Mclntosh AfoA Trina Lavelle Melntosh, and the Unl<nown Spouse of Terry Melntosh,
as provided in Rule 55(a)_. Federal Rules of Civil Proeedure.

Thiszhe£day@f I§:,, g 2013.

ROBERT R. CARR
U. S. DISTRICT COURT CLERK

    

Deputy C erk

